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      ORDERED in the Southern District of Florida on July 31, 2018.




                                                     Laurel M. Isicoff
                                                     Chief United States Bankruptcy Judge




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                              UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION


       IN RE:                                                  CASE NO.: 18-15891-LMI

       MAURICE SYMONETTE                                       CHAPTER: 7

            DEBTOR.
      __________________________/

                                     ORDER CONFIRMING
                            THERE IS NO AUTOMATIC STAY IN EFFECT

         THIS CAUSE came before the Court at a hearing on July 31, 2018 at 10:55 a.m. upon the
      Emergency Supplemental Motion for Annulment of the Automatic Stay Nunc Pro Tunc (DE #51)
      filed HSBC Bank USA, National Association as Trustee for Nomura Home Equity Loan, Inc.,
      AssetBacked Certificates, Series 2007-1 (the “Creditor”) on July 23, 2018. The Court, having
      reviewed the docket in this case, including the transcript of the hearing on June 22, 2018, a hearing
      at which both the Debtor and the Creditor were present,
         ORDERS AS FOLLOWS:
      1. The Court repeats and confirms what it told the Debtor and the Creditor at the hearing on June
         22 - because the Debtor had a prior bankruptcy case pending within one year prior to this case
         the automatic stay in this case expired on June 15, 2018.
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2. The Debtor, Maurice Symonette, filed for bankruptcy on May 16, 2018. Because the Debtor
     failed to file and have a hearing on a Motion to Extend the Automatic Stay within the thirty
     days required by the Bankruptcy Code, the automatic stay terminated and THERE IS NO
     AUTOMATIC STAY IN EFFECT.
3. As a result the title owner (Creditor) has full right of possession in relation to the property
     located at 10290 SW 58th Street Miami, Florida 33173, and may proceed with any and all
     remedies to recover possession of the property.
4. The property is more particularly described as:




5.    The Court will hear the Movant’s Motion For Annulment of the Automatic Stay and Request
     for Dismissal on August 8, 2018 at 3:00 p.m..


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Attorney, Jeffrey S. Fraser, Esq. shall serve a copy of the signed order on all required parties
and file a certificate of service as required under Local Rule 2002-1(F).

COPY FURNISHED TO:
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